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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE   AND      D EADLINE INFORMATION



Civil Action No.: 6:18-cv-00248-JRG-JDL
Name of party requesting extension: Anixter Inc.
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 6.18.2018
Number of days requested:                   ✔ 30 days
                                                 15 days
                                                 Other _____ days
New Deadline Date: 08.08.2018 (Required)


A TTORNEY FILING       APPLICATION INFORMATION




            Full Name: Gary R. Sorden
            State Bar No.: 24066124
            Firm Name: Klemchuk LLP
            Address: 8150 N. Central Expressway, 10th Floor
                         Dallas, Texas              75206


            Phone: 214-367-6000
            Fax: 214-367-6001
            Email: gary.sorden@klemchuk.com
                  A certificate of conference does not need to be filed with this unopposed application.
